Case 2:21-cv-00067-Z Document 124-1 Filed 01/14/22   Page 1 of 6 PageID 3584




                      Exhibit A
    Case 2:21-cv-00067-Z Document 124-1 Filed 01/14/22 Page 2 of 6 PageID 3585
                                 Texas v. Biden Monthly Report
                     Reporting Period: December 1, 2021 –December 31, 2021

(1) The total monthly number of encounters1 at the southwest border (SWB);

Encounter data includes U.S. Border Patrol (USBP) Title 8 Apprehensions2 between the ports of entry
along the SWB, Office of Field Operations (OFO) Title 8 Inadmissibles3 at land ports of entry along the
SWB, and Title 42 Expulsions4 at and between the ports of entry along the SWB.
    December 2021 as of January 3, 2022                         All Citizenships                    Haitian Nationals
                                                              Title 8       Title 42                Title 8    Title 42
    Office of Field Operations                                 6,348         2,306                    35           1
       El Paso Field Office                                     525           190                      7           1
       Laredo Field Office                                     1,213         1,140                    22
       San Diego Field Office                                  4,276          746                      6
       Tucson Field Office                                      334           230
    U.S. Border Patrol                                        93,903        76,283                   5,141            1,898
       Big Bend Sector                                          758          2,659                     14               42
       Del Rio Sector                                         22,756        10,449                    637              822
       El Centro Sector                                        1,460         2,675                     19                8
       El Paso Sector                                         8,072         11,399                   1,886             793
       Laredo Sector                                            621          6,683
       Rio Grande Valley Sector                               24,447        19,397                      9                7
       San Diego Sector                                       4,719          8,863                     67               16
       Tucson Sector                                           2,673        13,086
       Yuma Sector                                           28,397          1,072                   2,509             210
    Total Encounters                                         100,251        78,589                   5,176            1,899




1 The sum of Title 8 apprehensions/inadmissible aliens and expulsions.
2 Apprehension refers to the physical control or temporary detainment of a person who is not lawfully in the U.S. which may or may not
result in an arrest.
3 Inadmissible refers to individuals encountered at ports of entry who are seeking lawful admission into the United States but are

determined to be inadmissible, individuals presenting themselves to seek humanitarian protection under our laws, and individuals who
withdraw an application for admission and return to their countries of origin within a short timeframe.
4 Expulsions refers to individuals encountered by USBP and OFO and expelled to the country of last transit or home country in the interest

of public health under Title 42 U.S.C. 265.

                                                                    1
    Case 2:21-cv-00067-Z Document 124-1 Filed 01/14/22                                 Page 3 of 6 PageID 3586

(2) The total monthly number of aliens expelled under Title 42, Section 1225, or under any other
    statute;
             Title 42 expulsions at and between the ports of entry along the SWB5

                   December 2021 as of January 3, 2022                       All Citizenships            Haitian Nationals
                                                                                 Title 42                     Title 42
                   Office of Field Operations                                      2,306                          1
                      El Paso Field Office                                          190                           1
                      Laredo Field Office                                          1,140
                      San Diego Field Office                                        746
                      Tucson Field Office                                           230
                   U.S. Border Patrol                                             76,283                          1,898
                      Big Bend Sector                                              2,659                            42
                      Del Rio Sector                                              10,449                           822
                      El Centro Sector                                             2,675                             8
                      El Paso Sector                                              11,399                           793
                      Laredo Sector                                                6,683
                      Rio Grande Valley Sector                                    19,397                             7
                      San Diego Sector                                             8,863                            16
                      Tucson Sector                                               13,086
                      Yuma Sector                                                 1,072                            210
                   Total Encounters                                               78,589                          1,899
             Southwest Land Border Removals/Returns under Title 8, based on encounter date6

                   Total Removals and Returns Under Title 8                    All Citizenships            Haitian Nationals
                   U.S. Border Patrol                                               5,266                           12
                                         7                                            49
                      Bag and Baggage
                                         8                                          2,013
                      Voluntary Return
                      Expedited Removal                                             1,593                           6
                      Reinstatement of Removal                                      1,448                           6
                      Returns Pursuant to 8 U.S.C. 1225(B)(2)(C)                     191
                   Office of Field Operations                                       1,615
                      Bag and Baggage                                                  1
                      Voluntary Return                                                76
                      Expedited Removal                                              296
                      Reinstatement of Removal                                         6
                      Withdrawal of Application for Admission                       1,236


5 Same as Title 42 expulsion data provided in response to 1 above.
6
  Indicates that the noncitizen was encountered during the reporting period (December 1, 2021 – December 31, 2021).
7 When a noncitizen encountered or apprehended by CBP has been previously ordered removed by an immigration judge and the order was

never executed (i.e., in absentia). The removal order may be immediately executed by CBP or CBP may turn the noncitizen over to ICE
for removal.
8 Constitutes a request by a non-citizen to be permitted to return to their country of citizenship on a voluntary basis, in lieu of being

formally removed or placed into removal proceedings.

                                                                    2
    Case 2:21-cv-00067-Z Document 124-1 Filed 01/14/22                                    Page 4 of 6 PageID 3587
                       Returns Pursuant to 8 U.S.C. 1225(B)(2)(C)
                    Total                                                              6,881                           12

(3) Defendants’ total detention capacity as well as current usage rates;

          OFO Holding Capacity – Southwest Border in Custody9

                              December 2021                              December 2021
                         Daily Average In Custody                   Daily Average In Custody
                              All Citizenships                          Haitian Nationals
                               306 (32.8%)10                                2 (<1%)



          USBP Average Daily Subjects In Custody by Southwest Border Sector11

                                                   December 2021                            December 2021
                       SECTOR                 Daily Average In Custody                 Daily Average In Custody
                                                   All Citizenships                        Haitian Nationals
                    Big Bend                              44                                       3
                    Del Rio                                 1,836                                     126
                    El Centro                                418                                        5
                    El Paso                                 1,931                                     367
                    Laredo                                   936                                      258
                    Rio Grande                              4,071                                       5
                    San Diego                               1,191                                       9
                    Tucson                                   539                                        8
                    Yuma                                    2,419                                     344

                    Total                                  13,385                                    1,125




9 Represents an estimate of each cell's coded occupancy limit, as outlined in technical design standards when constructed, multiplied by the
total number of cells for all ports of entry within each field office. This number does not account for the unique circumstances that may
limit the occupancy of a given cell (e.g., high risk, nursing/pregnant, transgender, unaccompanied minor, etc.) nor does it reflect
operational limitations that affect a port's capacity to detain. CBP’s capacity to detain individuals in its short-term facilities depends on
many factors, including: demographics of the individual in custody; medical or other needs of individuals in custody; ability of ICE ERO
(or, if an unaccompanied child, the U.S. Department of Health and Human Services) to transfer individuals out of CBP custody; and OFO's
available resources to safely process and hold individuals.
10 Represents the average number of travelers in custody on a daily basis averaged over the 30-day period, at all Southwest Border Field

Office locations. Travelers include inadmissible individuals, lawful permanent residents, asylees, refugees, and United States Citizens who
are being detained to verify wants, warrants, criminal, administrative or other judicial process.
11 U.S. Border Patrol facilities, such as stations and central processing centers, provide short-term holding capacity for the processing and

transfer of individuals encountered by agents. Maximum facility capacity along the southwest border is approximately 5,000, which
assumes a homogenous population and full operating status at all facilities. Actual capacity fluctuates constantly based on characteristics
of in-custody population, to include demographics, gender, criminality, etc. The average percentage of subjects in custody on a daily basis
for all citizenships is 270%, which is averaged over the 30-day period and includes all Southwest Border Sector locations.

                                                                     3
 Case 2:21-cv-00067-Z Document 124-1 Filed 01/14/22 Page 5 of 6 PageID 3588
(4) The total monthly number of “applicants for admission”12 under Section 1225;


       December 2021 as of January 3, 2022                         All Citizenships              Haitian Nationals
                                                                        Title 8                        Title 8
       Office of Field Operations                                        6,348                           35
          El Paso Field Office                                            525                             7
          Laredo Field Office                                            1,213                           22
          San Diego Field Office                                         4,276                            6
          Tucson Field Office                                             334
       U.S. Border Patrol                                               93,903                            5,141
          Big Bend Sector                                                 758                               14
          Del Rio Sector                                                22,756                             637
          El Centro Sector                                               1,460                              19
          El Paso Sector                                                 8,072                            1,886
          Laredo Sector                                                   621
          Rio Grande Valley Sector                                      24,447                               9
          San Diego Sector                                               4,719                              67
          Tucson Sector                                                  2,673
          Yuma Sector                                                   28,397                            2,509
       Total Encounters                                                100,251                            5,176


(5) The total monthly number of “applicants for admission” under Section 1225 paroled into the
    United States; and

                                                                             December 2021                    December 2021
       Southwest Border Paroles                                                  Paroles                           Paroles
                                                                             All Citizenships                 Haitian Nationals
       U.S. Border Patrol Total                                                  18,270                              421
       Parole Disposition                                                        18,270                              421
       Office of Field Operations Total                                           4,520                               34
       NTA and Paroled into the U.S. on a case-by-
                                                                                    3,816                               34
       case basis pursuant to 8 U.S.C. § 1182(d)(5)
       Parole Disposition                                                            704
       Total                                                                        22,790                             455




12 An applicant for admission is defined as “[a]n alien present in the United States who has not been admitted or who arrives in the United
States (whether or not at a designated port of arrival and including an alien who is brought to the United States after having been interdicted
in international or United States waters).” 8 U.S.C. § 1225(a)(1). Thus, an applicant for admission may include noncitizens that have
never been encountered by CBP. At this time, CBP does not have a mechanism to track all applicants for admission in the United States
that are not encountered by CBP. CBP has included the same data as the Title 8 encounter data provided in response to 1 above.

                                                                      4
 Case 2:21-cv-00067-Z Document 124-1 Filed 01/14/22 Page 6 of 6 PageID 3589
(6) The total monthly number of “applicants for admission” under Section 1225 released into the
    United States, paroled or otherwise.”13, 14

                                                                                           December 2021                   December 2021
         Southwest Border Releases                                                             Releases                        Releases
                                                                                           All Citizenships                Haitian Nationals
         U.S. Border Patrol Total                                                               51,106                           1,508
         Notice To Report15
         Notice to Appear - Order of Release on Recognizance                                      32,836                           1,087
         Parole Disposition                                                                       18,270                            421
         Office of Field Operations Total                                                          4,520                             34
         NTA and Paroled into the U.S. on a case-by-case basis
                                                                                                   3,816                             34
         pursuant to 8 U.S.C. § 1182(d)(5)
         Parole Disposition                                                                        704
         Parole Disposition (ICE Declined to Detain Indicator)                                       5
         Total                                                                                    55,626                           1,542

         USBP Southwest Border ORs, NTRs, and Parole Subjects by Month
                                       December 2021             December 2021
                Categories             All Citizenships          Haitian Nationals
                        "Lack of Space"                           11,577                                    425
         NTA/OR
                                                                  21,566                                    686
         NTA/OR Total16                                           33,143                                   1,111
         NTR Total17                                                 0                                       0
                        "Lack of Space"                            431                                      8
           Parole
                                                                  17,831                                   416
         Parole Total18                                           18,262                                   424




13 All numbers in reporting requirement 6 for Office of Field Operations are “based on encounter date,” as defined above. The parole
disposition (ICE Declined to Detain Indicator) row within the “Office of Field Operations Total” is not in addition to the preceding rows.
This is not indicative of all individuals paroled into the United States due to an ICE declination to detain. This is merely those that
requested to be paroled at a port of entry and a custody determination was made by ICE not to detain. When processing in OFO systems,
this is not a field required for input. OFO is able to provide data on noncitizens paroled and released into the United States; however, is not
able to provide specific reasons as to why detention was declined. Specific reasons for denial are not captured in CBP’s electronic systems
of record nor is it provided when that decision is reached.
14 Given that the data reported in reporting requirement number 6 is inclusive of the data reported in reporting requirement number 5, we

have only included the data related to the reasons for release in response to reporting requirement number 6. In addition, the CBP releases
may have occurred under Section 1225 or Section 1226, but that specific data is not available at this time for purposes of this report.
15 Individuals who are screened by CBP, and after criminal and immigration records checks are conducted to determine if the subject is a

threat to national security or public safety, are then released and instructed to report to U.S. Immigration and Customs Enforcement (ICE)
for continued processing.
16 NTA/OR: Lack of detention capacity is not a required field in USBP's system of record. Some NTA/ORs were documented in the system

using a descriptor of "lack of space" when ICE declined custody due to lack of detention capacity, but since it is not a required field, the
descriptor is not consistently utilized and documented in the system. Some NTA/ORs may have issued due to a lack of detention capacity
but not documented as such in the system.
17 NTR: Lack of detention capacity is not a required field in USBP's system of record and is not captured in the system for NTRs; however,

NTRs were issued in limited sectors on a case-by-case basis when USBP holding capacity was exceeded or when resources became
overwhelmed.
18 Parole: Lack of detention capacity is not a required field in USBP's system of record. Some Paroles were documented in the system using

a descriptor of "lack of space," but since it is not a required field, the descriptor is not consistently utilized and documented in the system.
                                                                         5
